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                                 UNITED STATES D ISTRICT COURT
                                 SOUTH ERN DISTRICT OF FLO RIDA

                               CASE NO :16-cv-81798-M IDDLEBRO OK S

  TTT FOODS HOLD IN G COM PANY LLC ,

          Plaintiff,



  BEATRIC NAM M ,JONATHAN N AM M , and
  DELUXE GO URM ET SPECIALTIES, LLC,

          Defendants.


  ORDER G M NTING IN PART AND D ENY ING IN PART PLAINTIFF'S M OTION TO STRIKE

          THIS CAUSE com es before the Courtupon Plaintiff TTT Foods Holding Company, LLC'S

  (ssplaintiff'')M otion to StrikeAmended AffirmativeDefenses(ûdMotion''),filed on January 3,2017 (DE
                                                                                                 .



  36). Defendants BeatriceNamm,Jonathan Namm,and Deluxe GourmetSpecialties, LLC ((ûDeluxe'')
  (ûiDefendants'')filed a Responseon January 13,2017 (DE 44),to which Plaintiffreplied on January 20,
  2017(DE 46). Forreasonsstatedbelow,Plaintiff'sM otion isgranted inpal4anddenied in part   .



         1.       Back round
              the Amended Com plaint, Plaintiff alleges that Beatrice N am m , as the sole member and

  managerofBrooklyn'sBestLLC (çdBrooklyn'sBest''),causcd Brooklyn'sBest,acompanythatallegedly
  owesmore than $176,001.76to Plaintiff,and Deluxe,an alterego and successorofBrooklyn'sBest, to
  fraudulently transfermore than $99,000to orforthebenefitofBeatrice Namm and JonathanNamm in

  violation ofthe FloridaUniform FraudulentTransferAct(ISFUFTA''), (DE 8).Plaintiffalso allegesthat
  BeatriceN amm breached herGduciary dutiesto Plaintiffby transferring fundsowed to Brooklyn'sBest's

  creditorsforherpersonalbenefit. Finally,Plaintiffalleges thatBeatriceN amm should be held liable for
  Brooklyn's Best's indebtedness to Plaintiff under a theory of alterego because she treated Brooklyn's

  Best'sassetsas herown personalassets.
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        Plaintiffm oves to strike the follow five affirm ative defenses, asserted in Defendants'Am ended

  Answer(DE 29):
        (1)Affirmativedefensenumber12,asscrting thatBeatriceNamm isnotBrooklyn'sBest'salter
            ego because Brooklyn'sBestwas notcreated to defraud,butratherwas created by Plaintiff,

            who relinquished ownership to Beatrice N amm in exchange for the promissory notes that

            gave rise to the debt that Plaintiff now seeks to collect. Defendants assertthat Plaintiff

            knowingly entered a contractual relationship with Brooklyn's Best and know ingly did not

           require Beatrice Namm to sign or guarantee the promissory notes, butneverthelessnow seek

           to hold BeatriceN amm liable;

        (2)Affirmative defense number l3,asserting thatPlaintiffsfraudulenttransfercounts,which
           seekto holdDefendantsjointly and severally liable,failto state acauseofaction because
           FUFTA doesnotpennitjointandseveralliability;
        (3) Affirmative defensenumberl4,assertingthatPlaintiff'sbreach offiduciary duty countfails
                                                                                          .


           to state a cause of action because Plaintiffdoes not allege any facts show ing that Beatrice

           N amm owed Plaintiffa duty ofcare;

        (4)Affirmative defense number l5,asserting that Plaintiff failed to join a non-diverse
           indispensable party,Brooklyn'sBest,because Plaintiffalleges thatBrooklyn'sBcstmadethe

           fraudulenttransfersatissue,thatBrooklyn'sBestow ed Plaintiffcertain fiduciary duties, and

           thatBrooklyn'sBest'scorporate veilshould be pierced;

        (5)Affirmativedefensenumber l7,asserting itwould be inequitableto grantPlaintiffequitable
           relief because Plaintiff created and then relinquished ownership of Brooklyn's Best in

           exchange forthe prom issory notesthatgave riseto the debt,thatPlaintiff signed these notes

           with Brooklyn'sBestin fullaw arenessofBrooklyn's Best's finances,and thatnow Plaintiff

           seeksto hold Beatrice Nam m liable;and
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            (6) Affirmativedefense number18,assertingthedefenseofunclean handsforthesamereasons
                  asserted in defense numberl7.

            II.      LegalStandard

            Rule l2(9 ofthe FederalRules ofCivilProcedure permits a party to move to ddstrike from a
  pleading an insufficientdefense orany redundant, im material,im pertinent,or scandalous m atter.'' Fed.

  R.Civ.P.12(9. M otionsto strike,however,are generally disfavored by courtsand are considered a
  iddrasticremedytoberesortedtoonlywhenrequiredforthepurposesofjustice.''Augustusv.Boardof
  Publiclnstruction,306 F,2d 862,868 (5th Cir.1962)1(quoting Brown t:t W illiamson Tobacco Corp      .   v.

  United States,201 F.2d 819,821(6th Cir.1953)). Accordingly,such motionsûdwillusually be denied
  unlesstheallegationshaveno possiblerelation to thecontroversy and may causeprejudicctooneofthe
  parties.'' 1d.


          111.       Discussion

          PlaintiffarguesthatDefendants'affirmative defenses, num bers 12,13,and l4,should be stricken

  because they arenotaffsrm ative defenses,butratherare denialsofPlaintiff's prim afacie case. However,

  Fed.R.Civ.P.6(b)recognizesthatfailure to state a claim upon which reliefcan be granted may be
  asserted in a responsive pleading. In addition,Plaintiff has not shown any prejudice from these
  afGrm ative defenses, which,by Plaintiff s own adm ission, would not expand the scope of discovery

  beyond Plaintiff s claim s. Accordingly,Plaintiff's M otion to Strike Defendants'affirm ative defenses,

  numbers l2 through 14,on the basis thatthey improperly challenge Plaintiff's prim a facie showing is

  denied.

          Next,Plaintiff argues that affirm ative defense number l3,asstrting Defendants cannot be held

  jointly and severally liable,is legally insufficientbecause FUFTA permitsjointand severalliability.


  1 The Elcventh Circuit has recognized the case law of the former Fifth Circuit prior to 1981 as its
  governingbody ofprecedent.Bonnerv.City ofprichard,661F,2d 1206(11th Cir.l981).
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   FUFTA maypermitjointand severalliability in somecircumstances M ccalla v.A'.C.Kenyon Const
                                                                       .                                   .



   Co.s183So,3d l192,1194(FIa.lstDCA 2016). However,becausethefactualcircumstancespermitting
  such Iiability vary,the Courtfsndsthatitis notappropriateto strike Dvfendants'defense atthisstage in

  the litigation. See,e.g., TheM acknl
                                     khtFood Grp.,Inc.v.TheSanta Barbara Smokehouse, lnc.,No,15-
  21l79-CIV ,2015 W L 6380644, at*2 (S.D.Fla.Oct.22,2015)(ç
                                                          tgW lhen factsare in disputeamotionto
  strikewillnotbegrantedunlessitappearstoacertaintythatplaintiffllswouldsucceeddespiteany state
  of facts which could be proved in supportofthe defense.''
                                                          )(internalcitation omitted);W right& M iller,
  5C Fed.Prac.& Proc.Civ.j l381(3d ed.)(çd(A)motiontostrikewillnotbe granted iftheinsufficiency
  ofthe defense isnotclearly apparent, orif itraisesfactualissuesthatshould be determined on a hearing

  onthemerits.'').A ccordingly,Plaintiff'sM otion to Strike Defendants'13thaffirm ativedefense isdenied.


          Finally,PlaintiffarguesthatDefendantsdo notallege sufficientfactsto putPlaintiffon notice of

  thenatureoftheir15th,l7'h,and 18thaffirmative defenses Rule8(b)(1)(A)requiresthataparty Ssstatein
                                                          .



  shortand plain term sitsdefensesto each claim asserted againstit.'
                                                                   ' FedR.Civ.P.8(b)(l)(A).Although
  Rule 8 does not obligate Defendants to set forth detailed factual allegations, Defendants m ust give

  Plaintiffçtfairnotice''ofthe nature ofthe defenseand the groundsupon which itrests. BellAtlanticCorp.

  v.Twombly,550 U.S.544,553(2007).
          In their 15'1affirmative defense, Defendantsallege thatBrooklyn'sBestisan indispensableparty

  because PlaintiffallegesthatBrooklyn'sBestm ade the fraudulenttransfersatissue, thatBrooklyn's Best

  owed Plaintiff certain fiducial'
                                 y duties, and that Brooklyn's Best's corporate veil should be pierced.

  Plaintiff argues thatthese allegationsdo notarticulate how the Courtwillbe unable to accord complete

  reliefamong existing parties,whetherthere isany prejudicialeffecton Brooklyn'sBest'sability to
  protectitsinterest,orhow Brooklyn'sBest'sabsence would leave the existing partiesata substantialrisk

  of incurring inconsistentobligations,as required to establish that a party is indispensable. See Fed.R,

  Civ.P.l9(a)(l). The CourtGndsthatDefendants'allegationsare insufficientto givePlaintiffnoticcof
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  the basis on which Brooklyn's Best is an indispensable party. Accordingly,Defendants'15thaffirmative

  defense isstricken with leaveto amend.

          ForDefendants'17'hand 18tl
                                   'affirmative defenses, Defendantsraise additionalfacts as the basis

  for these defenses in their Response that are not alleged in their Am ended Answer. Accordingly,

  Defendants'l7thand I8thaf- firm ative defenses are stricken with leave to amend so thatPlaintiffm ay be

  fully apprised ofthebasisforthesedefenses.2 Itishereby

         ORDERED AND ADJUDGED thatPlaintifps Motion (DE 36) is DENIED IN PART and
  GR ANTED IN PART. Defendants' affirmative defenses, numbers 15, 17,and l8,are STRICK EN

  from theAmended Answer(DE 29).Defendantsaregranted leaveto amendtheAmended Answer!!J27,
  29,and 30 by February 10,2017.

         DONE AND ORDERED inChambersatWestPalm Beas/x lorida,thZis%/ dayofJanuary,
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                                                         D ALD M .M IDDLEBROOK S
                                                         UN ITED STATES DISTRICT JUDGE
  Copiesto:      CounselofRecord




 2BCCaUSC If'
            intlthatDefendants should be granted Ieave to am end their 17thand l8thaffirm ative defenses,
 IwillnotaddressPlaintiff's argum entthatthese defensesare unrelated to Plaintiff'sclaim satthistime.
                                                   5
